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 4

 5
                            UNITED STATES DISTRICT COURT
 6
                        NORTHERN DISTRICT OF CALIFORNIA
 7                            SAN FRANCISCO, DIVISION
 8

 9     ---------------------------------:

10      SALOOJAS INC,                          : Case Number 3:22-CV-02887-jsc
                Plaintiff                    :    OPPOSITION TO DEFENDANT’S
11
                                             :    MOTION TO DISMISS
12              vs.                          :
                                             :
13
      AETNA HEALTH OF CALIFORNIA, INC :           U.S. Judge Jacqueline Scott Corley
14                                            :   Date: September 29. 2022
                 Defendant.                   :   Time: 9:00 A.M.
15    ______________________________________ :    Location: Courtroom 8
16        PLAINTIFF’S MEMORANDUM OF LAW IN OPPOSITION
17
                      TO DEFENDANT’S MOTION TO DISMISS
18        ______________________________________________________________
19
                      LAW OFFICE OF MICHAEL LYNN GABRIEL
20
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28
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 1     Plaintiff Saloojas, Inc, dba AFC Urgent care of Newark, submits this Opposition and

 2   Memorandum of Law to Defendant Aetna Healthcare of California’s Motion to Dismiss.

 3
                                        INTRODUCTION
 4
          288,000, 350,731, 1.2 million 445 . These are the dead. Most of the dead died from the
 5
     contributing factor of COVI 19 without proper medical care because the insurance companies
 6
     such as AETNA alone ceased following the COVID CARES ACT .
 7

 8           It appears that rather than enforce a Trump program and in doing so save lives the

 9   Biden Administration has decided not to enforce the CARES ACT and thus give not any credit
10   for saving lives to President Trump, the Biden Administration has not enforced the CARES
11
     ACT with the result that the number of COVID Death have nearly tripled. Furthermore to its
12
     shame, COVID 19 has morphed into another more deadly variant which now is starting to
13
     sweep the country. On July 16 alone it was killing 445 a day and still the CARES ACT is not
14

15   being followed by insurance companies such as Aetna

16          In fact the Biden Administration has gone even further and canceled the another

17   Trump COVID program the COVID Uninsured Program as of March 22, 2022. This now
18   leaves the poorest and most at risk Americans those without insurance coverage at all without
19
     no access or ability to see a medical doctor for COVID testing
20
            All of this has been highlighted when President Biden who had a booster shot for
21
     COVID announced on July 21, 2022 there he now has COVID . The White House reported
22

23   that President Biden had gotten the latest shot after clearance from his doctor. It speaks

24   volumes that the Precedent of the United States can see a doctor as part of his COVID testing

25   but that same right is denied to citizens who wish to see their out of network doctor for
26
     COVID testing because the Biden Administration is not enforcing CARES act and Uninsured
27
     COVID program.
28
           The numbers above :
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            1.      350,731 is the CDC number of COVID deaths           in 2020 under President
 1

 2   Trump and after the CARES Act passed.

 3          2.      The 1.2 million total US death figure so far is nearly triple the COVID Tests

 4   following the Biden Administration decision no to enforce the Cares Act.
 5          3.      The 445 figure the number of daily deaths of COVID as July 16, 2022 by
 6
     NBC https://www.nbcnews.com/health/coronavirus
 7
                  ↑ 40.6%                                 ↑          36.1%
 8                Cases, two-week change                Deaths, two-week change
 9                136,627                               445
                  Average daily COVID cases             Average daily COVID deaths
10                89,822,059                            1,026,647
                  Total confirmed cases                 Total confirmed deaths
11

12

13          4       The number of 288,000, the number of German deaths by Nazis of their own

14   people. https://scottmanning.com/content/nazi-body-count/
15
          NO OTHER DEVELOPED COUNTRY ON THIS PLANET IS RESTRICTING
16
        AND LIMITING COVID MEDICAL COVERAGE TO ITS CITIZENS AS THE
17
                   AETNA IS DOING IN NOT ENFORCING THE CARES ACT
18
            One more number for the court to bear in mind IS ZERO, 0, nada, nothing, zilch,
19

20   This is the amount of money it would actually cost the Biden Administration to enforce

21   the CARES Act. The Biden Administration would not even send a letter to the insurance
22   companies informing them that they are in violation of the CARES Act and face suit by the
23
     administration as well by the unpaid medical providers for the full posted prices for their
24
     rendered COVID testing services and most telling they could be sued by the insured and
25
     families of the deceased insured who died because they were denied the proper COVID
26

27   medical care that was to be provided under the CARES ACT. Such damages by Aetna’s

28   insured include the wrongful deaths resulting from the lack of COVID medical testing

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     services that occurred because they could not afford to pay for doctor visits which were
 1

 2   supposed to been paid by their insurance companies without deductibles or copays being

 3   assessed. This is the proof of the Biden Administration’s lack of enforcement is for political

 4   grounds and so the number of COVID deaths attributable to the insurance companies of
 5   American citizens, exceeds exponentially the NAZIs murders of their own citizens.
 6
            What is the CARES ACT? It consists of just 2 sections and simply requires insurance
 7
     companies to pay the full posted prices of out of network medical providers who rendered
 8
     COVID testing services. That is it.
 9

10           Dr Parmjit Singh is not a Democrat or Republican he is just an urgent care doctor

11   doing business as the Plaintiff Saloojas, inc a California medical corporation.      In 2020,

12   President Trump passed the COVID CARES ACT to protect Americans. The CARES Act
13
     requires insurance companies to fully pay for COVID testing without deductibles or copays
14
     of out of network providers according to their posted prices
15
            After the 2020 election Biden Administration stopped enforcing the CARES ACT
16
     and after that AETNA stopped paying the full posted prices of ut of network providers for
17

18   the medical care being given. This lack of enforcement had a deadly effect in the United

19   States. With over 1 million dead in a nation of 331 million per 2020 census, virtually every
20   American now knows or has heard of a person who has died of COVID.            In comparison,
21
     COVID deaths have tripled from less than 360000 under Trump to now nearly 1.2 million.
22
     No other developed county has shown such absolute indifference to the care of its citizens.
23
     Since Biden would not do it, Plaintifff has filed 6 early identical class actions lawsuits
24

25   against the major insurance companies including AETNA to enforce the CARES Act and

26   also have filed a writ of certiorai to the US Supreme Court to settle the issue of enforcement

27   of the CARES ACT .
28
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             Dr Singh has posted his prices for his COVID medical testing and evaluation
 1

 2   services and until Jan 2021 when President Biden took office, the Insurance companies

 3   Aetna, Anthem, Blue Cross, Blue Shield and Cigna followed the CARES Act and fully paid

 4   the posted prices to out of network providers
 5          Dr Singh in conformity with the CARES ACT posted his charges appropriate COVID
 6
     CPT Codes
 7

 8
                              CARES ACT POSTED PRICES
                                FOR COVID SERVICES
 9
      SERVICE RENDERED                 BILLING CODE FOR                 CASH PRICE OF
10
                                            SERVICE                        SERVICE
11     New Patient, Doctor                 CODE 99203                     $383 SINCE
12
      Visit                                                              January 2/2019
      Established Patient,                    CODE 99214                  $385 SINCE
13    Doctor visit Code                                                  January 2/2019
14     Services at URGENT                    CODE S9088                   $364 SINCE
      CARE Center POS 20                                                 January 2/2019
15    Procedure of Collection                CODE G2023                    $90 SINCE
16    of COVID Nose swab                                                  May 20, 2020
      COVID Protective                        CODE 99072                   $85 SINCE
17    equipment PPE,                                                      May 20, 2020
18

19
            The five small claims complaints which were removed by Aetna to federal Court
20
     show what has happened after the Biden Administration took office where it now refuses to
21

22   fully pay for the same COVID testing services and now assesses co-pays and deductibles

23   against its insured in violations of the CARES Act

24          Since President Biden assumed office, neither the plaintiff, nor any other out of
25   network provider in the United States, has been fully paid for their rendered COVID testing
26
     services as required under the CARES ACT. For the plaintiff, it has not been fully paid in
27
     over 32,000 cases by all of the insurance companies of which as of May 15, 2002 included
28
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     1556 unpaid cases from Aetna specifically. In most of these 32000 cases, the insureds were
 1

 2   improperly and illegally told that they were responsible for the unpaid balances of the bill in

 3   violations of the CARES Act as being an illegal deductible or co-pay.

 4          Once in Federal court, Aetna then made a motion to dismiss claiming that the
 5   CARES Act can only be enforced by the Biden Administration and did not carry a private
 6
     right of action. This Court agreed and granted the motion to dismiss. Plaintiff has appealed
 7
     the dismissal of the five cases, the notice of appeal for this case and the other 4 small claims
 8
     cases have been filed in the cases before the Northern District of California:
 9

10          1. 22-16034 for DC case 3:22-cv-01696-JSC

11          2. 22-16035 for DC Case : 3:22-cv-01702-JSC

12          3. 22-16036 for D.C. case : 3:22-cv-01703-JSC
13
            4. 22-16037 for D.C. No.: 3:22-cv-01704-JSC
14
            5. 22-16038 for D.C. No.: 3:22-cv-01706-JSC
15

16          The driving issue behind the need for the writ is to settle the conflict of jurisdictions

17   and the enforcement of the CARES ACT duing this pandemic to achieve Cngress’s intent

18   during this pandemic.
19

20

21

22

23

24          To this mixture of states is added the other 3 states having motions to dismiss pending

25   and needing Supreme Court resolution to settle the issue of who can enforce the Cares Act

26          1.       New Jersey         OPEN MRI AND IMAGING OF RP VESTIBULAR
27   DIAGNOSTICS, P.A., vs. CIGNA HEALTH AND LIFE INSURANCE COMPANY, Case
28
     No: 2:20-CV-10345-KMSK
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            2.       Minnesota       GS LABS, LLC,              v.   MEDICA INSURANCE
 1

 2   COMPANY, Case Number: No.: 21-cv-2400

 3          3.      Washington    PREMERA BLUE CROSS vs/ GS LABS, LLC, Case No.
 4
     2:21-cv-01399-LK
 5
            Added to all of the above is the growing emergency situation and resurgence of the
 6
     pandemic for which the CARES ACT is front and center in the COVID treatment. During
 7
     2020 when Trump was president the insurance companies followed the Cares act and
 8

 9   350,381 people died of COVID according to the CDC figures. After Jan 2021 when Biden

10   took office insurance companies stopped following the CARES Act with the result that the
11   number of COVID Deaths have nearly tripled to well over 1 million. The difference is
12
     attributable to insurance companies not paying for proper medical testing services in
13
     violation of the cares act. The insurance companies are not obeying the law because the
14
     Biden Administration has chosen not to enforce the CARES ACT when it would cost the
15

16   government nothing to enforce the CARES act because doing so would give credit to Trump.

17          No other developed country on this planet is restricting and limiting medical

18   coverage to its citizens as the Biden Administration is doing in not enforcing the Cares
19   Act basically on political grounds
20
     .......This is a real emergency situation for which the Supreme Court is needed immediately to
21
     settle the law on a national COVID medical policy so that people do not die unnecessarily.
22
     For the same reason it will be a basis of writ of mandate to be filed next week in the
23

24   Northern District Court of California for the Biden administration to start enforcement of the

25   CARES Act. It is important that the CARES ACT be enforced without delay be it by the

26   Biden Administration or by the affected through a private right of action, the pandemic
27
     requires he enforcement.
28
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               I.   THE PLAINTIFF’S ACTION IS PROPER UNDER BOTH THE
 1

 2                                   CARES ACT AND FFRCA

 3                                     A. THE RIGHT TO SUE

 4       The determination of a private right to sue under the CARES Act is now before the US the
 5
     Ninth Circuit Court of Appeal. In addition a Petition for a writ of certiorai called the Writ
 6
     Against Death will be filed shortly (the petitoon was prepared for filign but unexpected delays
 7
     in the Appendix preparation has delayed the filing). The Wri is called the Writ Against Death
 8

 9   that is what it is intended to do has been filed with the US Supreme Court. It is intended to stop

10   the politicization of the CARES Act and get it enforced as Congress intended.

11             Saloojas seeks the both Supreme Court and Court of Appeal review to clarify
12
     whether the Supeme Court’s ruling in Cort v. Ash, 422 U.S. 66 (1975) when applied to this fact
13
     pattern results in an implied private right of action for the enforcement of the CARES Act
14
     being found.
15
          Saloojas has appealed this Court’s dismissal of the 5 Small Claims cases to the Ninth
16

17   Circuit in actions :Saloojas, Inc vs Aetna Health of California, Inc with case numbers 22-

18   16034, 22-16035, 22-16036, 22-16037 and 22-16038.
19        Since the Court ruled on the CARES ACT private right of action issue in the 5 other small
20
     claims AETNA cases, there has been a substantial changes in facts. There has been a
21
     resurgence in the pandemic with a more deadly strain. A few months ago it was thought that
22
     COVID may be dying out. Now that is not the case. Last week President Biden the most
23

24   protected person in the nation has came down with the very deadly M5A variant. Even after

25   having all of his boosters. What is telling is that the White House press stated when President

26   Biden had his video taped booster that he did do after after seeing his doctor. That medical visit
27
     is the heart of the CARES ACT and which is the most important service not being paid by
28
     AETNA.
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         The CARES Act was intended to give the same opportunity to receive the same COVID
 1

 2   TESTING services as available to the President of the Aetna States. Now that is not begin done

 3   and people are dying because of it. That is the purpose of the lawsuits and petition for the writ:

 4   to have the CARES ACT enforced independent of political motivations to stop it
 5       As pointed out in the writ petition less than 360000 died of Covid when President Trump’
 6
     Cares act was being enforced. Immediately thereafter the Biden Administration stopped the
 7
     enforcement of the CARES Act and since then Covid Deaths have tripled to over 1.1 million.
 8
             Aetna is one of the insurance companies responsible for increase of COVID deaths.
 9

10   Below is one telling example of Aetna scheme not to follow the CARES Acct. This is shown

11   by the compilation of 2 EOB from AETNA for the same patient for two visits. It shows on its

12   face that for this patient on Dec 8, 2020 President Trump’s Administration, Aetna paid the
13
     nearlt the full posted Covid prices for the rendered services. Then 5 weeks later on Jan 16,
14
     2021 when the patient came back for a repeat followup exam, then Aetna paid only 242.50 for
15
     the same services.
16

17

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     This is not an isolated case. Attached as Exhibit 1 are another ten (10) more 2020 EOBS from
 1

 2   AETNA showing full payment of the CARES ACT billing during the Trump Administration.

 3   What changed? What was the reason for so abruptly at the end on 2020 for AETNA suddenly

 4   not paying the full posted prices for COVID testing services owed the CARES ACT? The only
 5   factual change was the 2020 Election of President Biden and his administration's subsequent
 6
     non enforcement of the CARES ACT, seemingly for the basest political reason ie not wanting
 7
     to give President Trump credit for the lives saved under the CARES Act. The non-enforcement
 8
     gave all insurance companies the green light not to follow the CARES ACT.
 9

10       The result of AETNA not following the CARES Act- deaths. Deaths many of which are

11   avoidable and caused by the basest of reasons profits. AETNA is keeping its costs down by not

12   paying for the required covid medical services to out of network providers. This is an
13
     orchestrate program of economic extortion to force out of network providers to become in
14
     network providers in order to be paid. It is also intended to force out of network providers to
15
     stop taking Aetna patients because they would know they are not going to be paid if they do so.
16
          The result is that people are not getting proper medial care. More than 1 out 5 Americans
17

18   go to out of network providers      https://www.ehealthinsurance.com/resources/affordable-care-

19   act/using-out-of-network-doctors-cost-money . The main reason for going to an out of network
20   provider is that the patient wants the better care that is provided than is given by an HMO or
21
     PPO even though they have to pay for the care personally.
22
                In the case of COVID, going to an out of network doctor can truly be a life saver.
23
     Aetna’s in network doctors do not take emergency or walkin patients. AETNA does not pay
24

25   their doctors more for taking walkins and thus discourages the practice, Dr. Singh however does

26   take walkins. To do so Dr. Singh charges under S9088 an additional fee for walkin patients

27   because of the extra burden it causes on scheduling. In short it costs more to treat in time , effort
28
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     and anxiety walkin patients which AETNA’s in network doctors do not do imply because they
 1

 2   are not paid more for doing so.

 3                  1. THE CASH PRICES HAVE ALWAYS BEEN POSTED

 4       AETNA’s claims it does not know the posted prices for the covid serveries. That is an
 5   unbelievable statement. The cash prices are posted at saloojasinc.com/about and copied below:
 6
                               “ NO REASON TO BE SCARED
 7
             YOU ARE IN THE HANDS OF EXPERIENCED MEDICAL PROVIDERS
 8            We will gently swab the nose, in all the right places per CDC guidelines.
 9                 We pack your SPECIAL NASAL SWAB in Cold Container
                                   and send to CLIA Registered lab
10                      For RT-PCR test We partner with Quest and LabCorp
11                           Rapid NAAT test is done Inhouse in 1 hour
                                            * * * * *
12                     Corona Testing service on demand when you need it
13                                          * * * * *
                               COST OF COVID TEST / VACCINE
14                                 NO OUT OF POCKET COST
15               This is mandated by the Federal and State Emergency laws in place
                                  We bill the Insurance company for
16                                             Covid test
17                           using CPT E&M Codes approved by AMA
                 1) New Patient, Scheduled Doctor Visit Code 99203, E&M $ 383 ^
18                                                OR
19               2) New Patient, Scheduled Doctor Visit Code 99204, E&M $578 ^
                                                  OR
20                                               \OR
21            4) Established Patient, Scheduled Doctor visit Code 99214, E&M $385 ^
                                                  and
22                  5) Services at URGENT CARE Center POS 20, S9088 $364 ^
                           for WALK-IN clients for extra special handling
23
                                                  and
24               6) Procedure of Collection of Covid Nose swab, G2023/99211 $90
                                                  and
25
                           7) Covid Protective equipment PPE, 99072 $85
26                                                and
                        8) The National Lab will Bill directly to the Insurance
27
                     RT PCR done at CLIA Certified Lab Quest/ Labcorp /Basis
28                                                 or
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                   We Bill Rapid NAAT test Abbott at CLIA waved lab, 87635 $199
 1
                                                 or
 2                     8) We bill Vaccine code as per CMS guidelines $ 0.01
                                                and
 3
                                    Vaccine administration $67
 4      The posting speaks for itself.         “NO OUT OF POCKET COST This is mandated by
 5
     the Federal and State Emergency laws in place We bill the Insurance company for Covid test
 6
     using CPT E&M Codes approved by AMA”
 7
           That is a statement of the law. AETNA ,as well as every other insurance company, is
 8

 9   required to pay the full cash posted price under section 3202 (b) of the CARES ACT:

10              “If the health plan or issuer does not have a negotiated rate with such provider,
                such plan or issuer shall reimburse the provider in an amount that equals the cash
11              price for such service as listed by the provider on a public internet website, or such
                plan or issuer may negotiate a rate with such provider for less than such cash price.
12

13          Since the insurance company has to fully pay the bill, Plaintiff does not bill the patient

14   but instead bills the insurance company directly, If any patients wanted to pay the bill directly,
15   the patient can do so and then seek reimbursement from the insurance company.
16
           Not surprising among the over 50000 covid patients the Saloojas had not one who elected
17
     to pay the cash price and then seek reimbursement from the insurance company. Why would
18
     anyone do so? There is no benefit to be derived in paying the bill for the insurance company.
19

20    2. A DOCTOR IS SIMPLY IS NOT A LABORATORY AND IS NOT REQUIRED

21             TO BE A LICENSED LABORATORY TO PRACTICE MEDICINE

22              Aetna has confused a lab with a medical office. A lab cannot engage in the practice
23
     of medicine. The code 99203 is for the doctor visit for the covid medical evaluation. A medical
24
     visit is not a lab test. After a medical visit the doctor may sign an order for lab test to be done
25
     but that is done as a doctor not a lab.
26
             The CMS ie Medicare made it clear in Interim Final Rule IFC 3401 May 2020 page
27

28   81-82 stated that it wants as part of a COVID testing service that there should be a doctor visit

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     and that while not requiring a medical visit for the first test it absolutely does require one for
 1

 2   the second and subsequent tests.

 3            “Whereas we are committed to reducing impediments to access to Covid-a9 testing and
             the other related tests identified in the May 8 th COVID 19 IFC, we believe that is it
 4
             contrary to the public interest to allow open ended coverage of COVID-19 testing
 5           without an order from a physician, practitioner or other health care professional. ***

 6           We believe that this approach will provide sufficient notice for laboratories to setup the
             systems and processes to require an order beyond the first test.”
 7
             The argument that Saloojas should be a CLIA provider in order to conduct and be paid
 8

 9   for the medical visit is nonsensical.

10       3. AN URGENT CARE DOES NOT HAVE TO BE A LAB TO TAKE WALKIN
11                          PATIENTS FOR A MEDICAL EVALUATION
12
          The Journal of Urgent Care Medicine March 2, 2022 article S CODES (S9088 AND
13
     S9083) IN URGENT CARE covers the history of the Code S9088. The S9088 walkin code
14
     was actually created by Blue Cross and Blue Shield and by the Center of Medicaid and
15

16   medicare Services (CMS)

17       “Q. What is an S code

18      A. S codes are a set of Healthcare Common Procedure Coding System (HCPCS) codes that
        were originally requested by Blue Cross/Blue Shield. The codes are listed by the Centers
19
        for Medicaid & Medicare Services (CMS), but they are never for use on claims filed to
20      Medicare.

21      Q.       Does anyone besides Blue Cross and Blue Shield pay on S codes?

22      A. Yes, many payors and agencies (including managed care organizations [MCOs] and
        state workers compensation boards) have found these codes useful for defining specific
23      services that are neither recognized nor reimbursed by Medicare or Medicaid.
24                       S9088: Services Provided in an Urgent Care Center
25      Q.      What is S9088?
26      A.     Some payors recognize that the services rendered in true urgent care centers cost
        significantly more than the services that are rendered in traditional primary care physician
27      offices. Thus, this is an “add-on” code to allow urgent care centers to be reimbursed for at
        least a portion of this increased cost of rendering service.
28
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        Q. Who can use this code?
 1
        A. Any urgent care center can use this code. An urgent care center, as defined by UCA, is
 2      an ambulatory medical clinic (with x-ray and CLIA-waved lab testing) that is open to the
        public for walk-in, unscheduled visits during all open hours and offering significant
 3      extended hours, which may include evenings, weekends, and holidays. Some payors may
 4      have more specific requirements, including ACLS certified personnel, crash cart with
        specific supplies, on-site inspections, and others. The State of Colorado has made specific,
 5      fairly stringent regulations for an urgent care center to qualify to bill this code for workers
        compensation cases, and other states may follow suit.
 6
        Q.    When does S9088 apply?
 7
        A. Your urgent care center can use this code for all unscheduled, walk-in visits to the
 8      urgent care center.

 9      Q.    Can I add this code to codes for other services?

10      A. Yes. This is an “add-on” code. Unless restricted by contract or regulations, you
        should add this code to any and all other billed codes. “
11
             When the Code S9088 is charged to AETNA for a walkin fee by its insured. If Aetna’s
12

13   insured makes an appointment charge is not made. This charge has nothing to do with the

14   office being or not being a lab but everything to do with it being a medical office performing

15   medical services and evaluations which are not lab tests for which a CLIA certificate is needed
16
             4. ALL COVID TESTS ARE CONDUCTED THROUGH CLIA LABS
17
           Most of the lab tests were not in any way conducted by the Saloojas. For these tests all
18
     Saloojas did was on to collect the swabs and had them delivered to the labs at the request of
19
     the patients but the test and billing of the tests were conducted by an independent lab. As
20

21   stated on its web site under the independent CLIA which ran the tests is Quest/Labcorp

22                     “8) The National Lab will Bill directly to the Insurance
                     RT PCR done at CLIA Certified Lab Quest/ Labcorp /Basis”
23

24           In a few instance to date, 18 to exact, AETNA has received a bill from Saloojas for

25   covid tests which it conducted and for which Aetna paid a portion of those 18 bills. Those tests

26   were conducted by Travato Medical Group, a licensed CLIA lab located in the same building
27
     as Saloojas. Travato is a CLIA lab owned and operated by Dr. Singh. The Travato’s CLIA
28
     licensing is attached as Exhibit 2.
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           In those few cases where Saloojas billed AETNA for a covid test, Dr Singh the medical
 1

 2   director and owner of Saloojas, Inc issued the order for the test and the patient had it done by

 3   Travato and the bill went through Saloojas. So the test was performed by a licensed CLIA lab

 4   and as such Aetna owes for each of those few tests.
 5                     III. ERISA CLAIMS HAVE BEEN PROPERLY PLED
 6           A. EACH OF THE 1556 UNPAID AETNA CASES HAS AN ASSIGNMENT
 7              Every patient of Saloojas executes an assignment attached herewith as as Exhibit 4.

 8   That includes the patients whose EOBS were included in the complaint. The language is
 9
     unambiguous There is no confusion.
10
         “Doctor Consulting Visa Charges are Billed to the insurance company with
11       copays/coinsurance or charged to me as cash/credit and is a proper charge for medical
         consult service and is not refundable except as ***
12
         Exception: if it is determined by the doctor that the Corona test is Medically Necessary
13       then the NO OUT OF POCKET COST rules will apply which means that per CMS
         Guidelines insurance copays and out of pocket costs will be refunded for patients with
14       insurance and cash pay charges refunded for persons paying cash/ credit card. For
15       medically necessary Corona testing, office will bill insurance or CMS for visit and
         testinmgh by CLIA certified lab.”
16
         This is an assignment giving Saloojas the authorization to present the bill for the rendered
17
     Covid services. Saloojas is bot bulling the patient and says in on its web site. It is billing the
18

19   Insurance company solely and the patient knows that it will not get a bill. So the patent is

20   consenting to the assignment

21            B. SALOOJAS HAS EXHAUSTED ADMINISTRATIVE REMEDIES
22
         It is odd that AETNA is claiming that Plaintiff has not exhausted administrative remedies.
23
     Plaintiff has gone over board in appealing the denial of the claims and the court has seen the
24
     examples of this in the prior small claim cases.
25

26              In the 1556 unpaid cases Aetna issued an EOB and of those unpaid claims 1146 of

27   those cases were appealed and AETNA rejected them either with no reason stated for

28   rejections or stating that they were filed too late. After consistent rejections, Plaintiff realized it
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     was begin played by AETNA who had no intention to properly process the appeals. The
 1

 2   Plaintiff then started the filing of the small claims actions which were removed to this Court

 3   and the subject of the first motion of the dismiss by this Court

 4        In each small claims case 1696, 1702, 1703, 1704 and 1706, which AETNA removed to
 5   this Court in the previous action there was attached complete record of the appeal: the AETNA
 6
     EOB, Saloojas’ appeal letter and the AETNA’s final rejection of the Appeal, attached as
 7
     Exhibit 5 is is the small claims case 1696. This was the same scenario repeated in all of the
 8
     appeals conducted before Saloojas gave up and started suing.
 9

10        It appears that Attorneys attorneys do not communicate well to each other. As further

11   example of Saloojas going beyond the appeal process, AETNA asked the records of 40 patients

12   whose names were provided after AETNA paid some of the claims. Attached hereto as Exhibit
13
     6 is the compete information provided to Aetna for the first 2 patients. The information for the
14
     other 38 patients was provided later and filed a box weighing 38 pounds.
15
              plaintiff can overcome the administrative exhaustion requirement through a
16
     "clear and positive showing that seeking review by [the defendant] would be futile."'
17
     Kesselman v. The Rawlings 668 F. Supp. 2d at 609. The purpose of the exhaustion
18

19   requirement is to "help reduce the number of frivolous lawsuits under ERISA; to

20   promote the consistent treatment of claims for benefits; to provide a nonadversarial

21   method of claims settlement; and to minimize the costs of claims settlement for all

22   concerned." Kennedy v. Empire Blue Cross & Blue Shield, 989 F.2d at 594 (quoting

23   Amato v. Bernard, 618 F.2d 559,567 (9th Cir. 1980)). Where a plaintiff's participation

24   in a formal administrative process is futile, the purposes are "no longer served," and "a
25   court will release the claimant from the requirement." Id.
26
             A participant or beneficiary may bring an ERISA claim to seek recovery of benefits
27
     under his or her ERISA plan. 29 U.S.C. § 1132(a). Claims where a plaintiff has neither
28
      identified the plan at issue nor the plan language violated have been dismissed. See, e.g.,
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     N.Y. State Psychiatric Ass'n, Inc. v. UnitedHealth Grp., 798 F.3d 125, 135 (2d Cir.
 1
     2015) (affirming the dismissal of ERlSA claims where the plaintiff failed to allege,
 2
     inter alia, "her patients' plans or the terms of their plans"). Here, however, the
 3

 4   reimbursement obligation derives from the Coronavirus Legislation, which effectively

 5   modified the terms of ERISA plans to provide SARS-CoV-2 tests at no cost to a patient.

 6   Thus, the relevant plans could not have precluded Aetna’s obligation to reimburse

 7   COVID- 19 diagnostic testing in accordance with federal law. Under the circumstances of

 8   this case, Plaintiffs failure to plead the specific plan language or identify the individual
 9   assignor-beneficiaries does not warrant dismissal.
10       In addition to the above, attached as Exhibit 7 are two of AETNA’s appeal responses for
11
     the representative claims included the complaint. The rejection letters on their face show the
12
     pointless nature of the appeal because ONE states that the appeal was late when as pointed out
13
     in all of Saloojas’ appeal letters, the deadline for filing a Covid ERISA claim was extended to
14

15   60 days after the end of the pandemic which has not yet occurred. Such a denial is on its face

16   illegal by AETNA and shows futility in pursuing the administrative appeals. The second one

17   we sent the appeal back using Aetna’s Complaint and Appeal Form as requested but AETNA
18   never responded back on the appeal and for the third, Aetna said plaintiff would be informed
19
     on the appeal within 30 days and to this date no decision on the appeal was given by Aetna so
20
     it is deemed denied,
21
                             Futility of Administrative Appeals Process
22

23    A claimant is excused from demonstrating exhaustion if she can show that pursuit of

24   administrative remedies would have been futile, Bourgeois . Pension Plan for Employees of
25   Santa Fe Int’l Corps, 215 F 3d 475, 479 (5th Cir.2000) To qualify for the futility exception to
26
     the exhaustion requirement, the claimant must show a “ certainty of an adverse decision”
27
     Rando v Standard Ins. Co 182 F.3d 933 (10th Cir 1999), Lindemann v Mobil Oil Corp 79
28
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     F.3d.647, 650 (7th Cir 1996). The focus of futility is on bias in the review process not based on
 1

 2   company official reviews, Bourgeois Pension Plan for Employees of Santa Fe Int’l Corps,

 3   supra.

 4        For AETNA to claiming before this Court that the ERISA appeals were not exhausted is
 5   ridiculous. The Court need only look to small claims cases removed to see for itself that
 6
     procedure was followed until it became clear AETNA was not acting in good faith
 7
                          IV. PLAINTIFF PLEADS A VIABLE RICO CLAIM
 8
         The predicate act for which the RICO cause if action is essentially death. The denial of proper
 9

10   medical care through its intentional scheme to violate of the CARES ACT will be shown to be

11   the operative cause of tens of thousands of deaths.

12        The gist of this case is not new. It is corporate greed to make profits at any costs in a scheme
13   regardless of the numbers of innocent dead that leaves in its wake. The best example of that
14
     before this case is Grimshaw v. Ford Motor Company (119 Cal.App.3d 757, 174 Cal.Rptr. 348 .
15
     This is the case and scenario that will be argued before the US Supreme Court in the petition for
16
     writ and the Court of Appeal to show how the desire for profits have left a string of dead across
17

18   the country.    Just as Ford refused to correct a cheap safety problem on its Pinto car to save

19   money. Aetna has violated the CARES ACT in its scheme to prevent their insureds from getting

20   the medical care they were entitled. In both cases the results were deaths and the reason to make
21
     money because it was felt that the number of payoffs in the suits for damages would be less than
22
     the cost to obey the law.
23
              In Grimshaw, the courts found that, while "the standard of care for engineers in the
24
     industry" after a failed safety test was to "redesign and retest," and although fixes were
25

26   inexpensive, "Ford produced and sold the Pinto to the public without doing anything to remedy

27   the defects." Design changes that would have enhanced the fuel system at very little cost
28   included:
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        Longitudinal side members: $2.40 ea.
 1
        Cross members: $1.80 ea.
 2      Shock absorbing "flak suit" for the fuel tank: $4.00
 3      Tank within a tank and placement of the tank over the rear axle: $5.08 to $5.79
        Nylon bladder within the tank: $5.25 to $8.00
 4      Placement of the tank over the rear axle with a protective barrier: $9.95
 5      Substitution of rear axle with a smooth differential housing: $2.10
        Protective shield between differential housing and fuel tank: $2.35
 6
        Improvement and reinforcement of rear bumper: $2.60
 7      Additional 8 inches (200 mm) crush space: $6.40
          Equipping the car with a reinforced rear structure, smooth axle, improved bumper
 8        and additional crush space at a total cost of $15.30 would have made the fuel tank
 9        safe in a 34 to 38-mile-per-hour rear-end collision by a vehicle the size of the
          Ford Galaxie. If, in addition to the foregoing, a bladder or tank within a tank were
10        used or if the tank were protected with a shield, it would have been safe in a 40 to
          45-mile-per-hour rear impact. If the tank had been located over the rear axle, it
11        would have been safe in a rear impact at 50 miles per hour or more.
12
            Ford’s conduct was so egregious it was found liable for punitive damages. The court:
13
     finding in punitive damages award was upheld on appeal:
14
            “There was ample evidence to support a finding of malice and Ford's responsibility
15          for malice. Through the results of the crash tests Ford knew that the Pinto's fuel tank
            and rear structure would expose consumers to serious injury or death in a 20- to 30-
16
            mile-per-hour collision. There was evidence that Ford could have corrected the
17          hazardous design defects at minimal cost but decided to defer correction of the
            shortcomings by engaging in a cost-benefit analysis balancing human lives and limbs
18          against corporate profits. Ford's institutional mentality was shown to be one of callous
            indifference to public safety. There was substantial evidence that Ford's conduct
19          constituted "conscious disregard" of the probability of injury to members of the
            consuming public...There is substantial evidence that management was aware of the
20
            crash tests showing the vulnerability of the Pinto's fuel tank to rupture at low speed
21          rear impacts with consequent significant risk of injury or death of the occupants by
            fire. There was testimony from several sources that the test results were forwarded up
22          the chain of command;...While much of the evidence was necessarily circumstantial,
            there was substantial evidence from which the jury could reasonably find that Ford's
23          management decided to proceed with the production of the Pinto with knowledge of
24          test results revealing design defects which rendered the fuel tank extremely
            vulnerable on rear impact at low speeds and endangered the safety and lives of the
25          occupants. Such conduct constitutes corporate malice."

26       Aetna has done virtually the same thing only with medical coverage. Aetna to avoid paying
27   for proper medical care for its insured decided not to follow the law and not to obey the CARES
28
     ACT. It rejected proper claims for payment in a scheme to force out of network providers from
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     treating their insureds. This is an ongoing scheme of economic extortion. Knowledge of the
 1

 2   CARES ACT is shown by the Plaintiff’s Appeal letter provided to the court as exhibit 3 which

 3   was also attached to the small claims cases in the previous action and provided again in Exhibit

 4   5. The appeal prevents a good faith defense of mistake because after being giving the appeal
 5   letter in Plaintiff’s appeals, AETNA continued and still continues not to follow the CARES Act
 6
     and the harm continues to wit: avoidable Covid death,
 7
         Plaintiff more than sufficiently pleads its RICO claim against Aetna in Count III. ''RICO is
 8
     read broadly” and “liberally construed to effectuate its purposes” Sedima SPRL v. Inrex Co.,
 9

10   479, 497-98 (1985). Moreover , the Supreme Court has “repeatedly refused to adopt narrowing

11   constructions of RICO in order to make it conform to a preconceived notion of what Congress

12   intended to proscribe. Bridge v Phoenix Bond & Indem. Co. 553 U.S. 639 661 (2008). Aetna's
13
     conduct fits squarely within the text and intended scope of the statute.
14
                            A.   Plaintiff Pleads a Viable Section 1962(c) Claim
15
            "RICO makes it 'unlawful for any person employed by or associated with any enterprise
16
     engaged in, or the activities of which affect, interstate or foreign commerce, to conduct or
17

18   participate, directly or indirectly in the conduct of such enterprise's affairs through a pattern of
19
     rackeetering activity” 18 U.S.C. § 1 962(c); Molina-Aranda v. Black Magic Elllerprises,
20

21   L.L.C., 983 F.3, 779, 784 (5th. Cir. 2020)
                                                   RICO allows'"[a]ny person injured in his business
22
     or"property by reason of a violation of section 1962 to bring a civil suit for treble damages. "
23

24   18 U.S.C. § 1964(c). To state a claim under § 1962(c), a plaintiff must adequately plead that

25   the defendant engaged in '(l) conduct (2) of an enterprise (3) through a pattern (4) of
26   racketeering activity. "' Sedima, S.P.R.L. v. lmrex Co., 473 U.S. 479,496, 105 S.Ct. 3275,
27
     87 L.Ed.2d 346 (1985)).Given the allegations against Aetna as detailed in Plaintiff’s
28
     Complaint and the gravity of this RICO cause of action, Aetna says very little in its
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     Motions to Dismiss about the viability of this claim. Aetna's arguments with respect to
 1
     Plaintiff’s RICO claim are as follows: (i) Plaintiff did not plausibly allege that the RICO
 2

 3   violations predicate act; and (ii) Plaintiff did not present any factual allegations that tie mail

 4   or wire fraud to its alleged damage

 5
                       B. Saloojas Sufficiently Pleads RICO Causation and Injury
 6
         In a claim under Section 1962(c), a RICO plaintiff must allege that a RICO predicate
 7

 8   offense '''not only was the 'but for' cause of his injury, but was the proximate cause as well.''

 9   Hemi Group, LLC v. City of New York, 559 U.S. I, 9 (2010) (citing Holmes v. Securities

10   Investor Protection Corp., 503 U.S. 258,268 (1992)).Proximate causation requires "some
11
     direct relation between the injury asserted and the injurious conduct alleged."            Holmes,
12
     503 U.S. at 268. However, the plaintiff need not be the direct target of the fraud or other
13
     racketeering. St. Luke's Health Network, Inc. v. L ancaster General Hospit al, No. 19–3 3 40, 2020 WL
14

15   4197525, (3dCir. July 22, 2020)

16
          Here, Plaintiff alleges an injury to its business or prope1iy. Aetna attempts to paint
17
     Plaintiff’s allegations as nothing more than a recitation of a history of Aetna's handling of
18
     claims; however, under Plaintiff’s actual claims, Plaintiff properly alleges that Aetna's
19

20   misconduct has resulted in thousands of Plaintiff’s Covid Testing claims being denied and

21   thousands of others being underpaid despite the requirements of the FFCRA and the
22   CARES Act. These denials and underpayments alone allege an "actual monetary loss" or
23
     concrete financial loss" sufficient to allege a RICO injury. Maio v. Aetna. Inc., 221 F.3d
24
     472,483 (3d. Cir. 2000). Additionally, as detailed in the Complaint, Plaintiff spent
25

26   considerable time and resources identifying Aetna's fraudulent conduct and taking action

27   against Aetna. "[C]osts associated with remediating or taking legal action against RICO

28   conduct amount to an 'out-of-pocket loss' that is actionable under RICO."              Desmond v.
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     Siegel, No. CIV. 10-5562 DRD, 2012 WL 3228681, (D.NJ. Aug. 6.2012). As to causation,
 1

 2   Plaintiff has directly and sufficiently linked Aetna's predicate acts to Plaintiffs injuries.

 3
                           C. Plaintiff Sufficiently Pleads Mail and Wire Fraud
 4
         A mail fraud violation requires proof of two elements: (1) a scheme to defraud, and (2)
 5

 6   any "mailing that is incident to an essential part of the scheme ... even if the mailing itself

 7   contain[s] no false information."       Bridge v. Phoenix Bond & Indem. Co., 553 U.S.
 8
     639,647, 128 S. Ct. 213 l, 2138, 170 L. Ed. 2d IO12 (2008)(quoting Schmuck v. Aetna
 9
     States, 489 U.S. 705, 712, 109 S.Ct. 1443, l03 L.Ed.2d 734 (1989)).Importantly, it is not
10
     necessary to allege that the defendant "personally used the mails or wires or even knew of
11

12   the specific mailings that were made; it is sufficient that a defendant 'causes' the use of the

13   mails or wires." Breslin Realty Dev. Corp. v. Schackner, 397 F. Supp. 2d 390, 399 (E.D.N.Y.

14   2005). Moreover, mailings "need not be an essential element of the scheme" to defraud, but
15
     are sufficient so long as they are "incident to an essential part of the scheme." Schmuck,
16
     489 U.S. at 713
17

18            The Complaint alleges in detail the schemes, programs, and processes utilized by

19   Aetna to violate the CARES Act, and the use of mails and wires in furtherance of such
20
     fraud. Plaintiff went so far as even attaching specific examples of the use mails and wires to
21
     send denial of appeals to further bolster its allegations against Aetna. In any event, Aetna's
22
     schemes and fraudulent practices are described clearly and logically, and Plaintiff has pied
23

24   that Aetna made false statements in furtherance of them. As detailed in the Complaint,

25   below are examples of fraudulent schemes furthered by Aetna through the use mails and
26   wires that are the proximate causes of Plaintiffs damages.
27
          • Aetna's Meritless Adiudication of Covid Testing Claims: As covered in th3
28
            Complaint, Aetna unlawfully and inconsistently adjudicated Covid Testing
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             claims. Aetna has utilized letters, electronic remittance advices, explanation of
 1           benefits, and other documents to fraudulently represent to Plaintiff, its
 2           members, to the Employer Plans, and other self-funded health plans that it
             administers that it was adjudicating Covid Testing claims in accordance with
 3           applicable laws, when in reality it was intentionally violating the CARES Act with the
             full knowledge that its insureds were not getting the proper medical coverage as required
 4           under the CARES Act and ERISA
 5          These above referenced examples and the supporting documentation included with
 6
     each of the examples is more than sufficient to allege mail and wire fraud as they were used
 7
     "to perpetuate an ongoing scheme." U n i t e d S t a t e s v S u r t a i n , 5 1 9 . A p p 2 6 6 ,
 8
     285(5th cir 2013) (holding that a letter mailed by an insurer informing the
 9

10   defendant-insured that their policy was defective was sufficient to sustain

11   a mail fraud claim against the defendant because a “would be scammer

12   must expect that as a normal part of the claims                          process- or , stated

13   differently as a step in        [the] plot- he will be required to prove his claim’s
14
     l e g i t i m a c y ” ) The motion to dismiss the RICO claim should be denied.
15

16          V. ERISA DOES NOT PREEMPT THE STATE CAUSES OF ACTION

17          Aetna assets that the state causes of action are preempted by ERISA. That might be

18   the case if the state causes of actions did not have an independent existence beyond the

19   enforcement of payment of ERISA claims but they do so it does not. Aesthetic &
20   Reconstructive Breast Cntr, LLC 367 F.Supp. 8. The state causes of actions are
21   independent of ERISA although complementary,
22          State common law claims which “seek to rectify a wrongful denial of benefits
23
     under ERISA-regulated plans, and do not seek attempt to remedy any violation of a legal
24
     duty independent of ERISA” are preempted, Panecasio v Uninsource 532 F.3d 101, 114
25
            First the claims derive from the CARES ACT . It was the CARES which requires
26
     insurance companies to pay out of network providers for their covid rendered testing
27

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     services not ERISA. It is true ERISA handles claims to made under a policy in these
 1
     obligation to pay for the services also derive from the CARES ACT not ERISA.
 2

 3
             This Court in the earlier Aetna case ruled that the CARES ACT carries no private

 4   right of action. That issue is before both the Court of Appeal as well as the United States

 5   Supreme Court because of the conflict in jurisdictions over that very point of law.

 6           Also next week, plaintiff will be filing a Petition for writ of mandate ordering the

 7   Biden Administration to enforce the CARES ACT. This writ is following both this
 8   Court’s and the Connecticut court’s reasoning that the Biden Administration is solely
 9   responsible to enforce the CARES ACT. In that case, the Biden Administration given the
10   emergency nature of the pandemic should do so.
11
             It seems an argument can be made that the reason the Biden Administration has not
12
     enforced the CARES Act is because it is obvious to it that private right of action does in fact
13
     exist and it is leaving to out of network providers to enforce the act. The petition writ of
14
     mandate would have been filed before or this opposition but in truth there just was not enough
15
     time to do this Opposition the Writ to the Supreme Court, the Notices of Appeal and petition
16
     for the writ of mandate all at the same time. But it will be filed and a copy provided to the
17
     court when filed, for the court’s information.
18
             The state causes of action are premised on the redressing the damages caused by Aetna
19

20   not following the CARES ACT. The complaint cannot bring back the dead killed by Aetna’s

21   actions but it can seek to stop actions causing those deaths from continuing holding AETNA

22   responsible for its actions.

23   A. PROMISSORY ESTOPPEL IS NOT PREEMPTED AND WAS PROPERLY PLED

24          An implied contract exists under the CARES Act between all insurance
25
     companies And out of network providers. The issue of enforcement is now before the
26
     Court of Appeal and soon before the Supreme Court through a writ of certiorai.
27
     Because the implied contract sets fo1th payment terms pursuant to the CARES Act,
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     there is no need to look to the terms of any ERISA-governed plan for the basis of
 1

 2   Aetna’s payment obligation.

 3          Thus, as in Plastic Surgery Cir., P.A. v Aetna Life Ins. Co. 967F 3d 218
 4
     (3 rd Cir.2020)     Plaintiff "has plausibly pleaded breach of contract and promissory
 5
     estoppel claims that do not 'relate to' ERISA plans under either of the two definitions:
 6

 7      (1) the causes of action do not require impermissible 'reference to' ERISA plans because

 8   hey are not claims for benefits due under an ERISA plan and are not otherwise premised on

 9   ERISA plans; and
10
        (2) the claims do not have a 'connection with' ERISA plans because they do not arise out
11
     of a relationship ERISA intended to govern, because they do not 'interfere[] with nationally
12
     uniform plan administration,' and because holding these claims preempted would
13

14   undermine ERISA's stated purpose." 967 F.3d at 230.

15          In Plastic Surgery Center, the Third Circuit, in viewing the allegations in the light
16   most favorable to the plaintiff and drawing all reasonable inferences in the plaintiffs favor,
17
     concluded that the claims as pied were not for benefits due under the plans or otherwise
18
     predicated on the plan or plan administration. Id. at 233. The court instead concluded that
19

20   "Aetna's oral offers or oral promises (as the case may be) rather than the terms of the

21   plan ... define the scope of Aetna's duty." Id. Here, the CARES Act-not the terns of any

22   plan document-define the scope of Aetna's duty. Likewise, Saloojas's recovery depends
23
     entirely on the CARES Act's mandate that Aetna pay the "negotiated rate" or the "cash
24
     price" Saloojas listed on its public website-requirements that are independent of any plan
25
     document. See CARES Act, § 3202(a)(2). Accordingly, Saloojas’ contract claim and
26

27   promissory estoppel claim are not preempted by ERISA.

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           Even if there were not a private right of action, Aetna through its actions of fully
 1

 2   paying for the rendered Covid services prior to 2021 created a situation where Saloojas

 3   believed through Aetan’s conduct that it would continue to pay for the rendered services as

 4   required by law. As a result Saloojas continued to provide COVID Medical and testing
 5
     services to Aetna’s insureds instead of suing earlier for the nonpayments.
 6
         Courts have stated that the "essential justification for the promissory estoppel doctrine
 7
     is to avoid the substantial hardship or injustice which would result if such a promise were
 8

 9   not enforced." Pop's Cones, Inc. v. Resorts Intern. Hotel, 307 N.J. Super. 461, 469 (N.J.

10   Super. Ct. App. Div. 1998). Courts have thus "relax[ed] the strict requirement of 'a clear
11   and definite promise' in making a prima facie case of promissory estoppel" in favor of "a
12
     more equitable analysis designed to avoid injustice." Id. At 463, 472.
13
        Here, Saloojas has far more than a mere ''general expectation" of a benefit,. See Mot. at In
14

15   Doe v. Princeton Univ., 790 F. App'x 379, 386 (3d Cir. 2019)), the court rejected the

16   plaintiffs promissory estoppel claim based on an allegation that "Princeton promised, in

17   retum for Doe's acceptance of admission and tuition, that Princeton would not tolerate and,
18
     [Doe] would not suffer sexual assault by another student, unfair procedures, or an arbitrary
19
     termination of his enrollment." Doe, 790 F. App'x at 386 (citations omitted). The court
20
     held that the plaintiff had not alleged a "clear and definite promise" because the promises
21

22   alleged "represent the 'general expectation[s]' a student has when attending a university."

23   Id. Here, in contrast, Saloojas has more than "general expectations" of payment-based on
24   Aetna’s prior payment practices, in which it had paid per the terms of the CARES Act and
25
     the FFCRA-it was reasonable for Saloojas to rely on the belief that Aetna would continue
26
     to obey the law and would continue to pay. It is disingenuous for Aetna to contend that
27

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     payment and duration terms were "unspecified" when the payment methodology is
 1

 2   mandated by Congress during the public health emergency.

 3        Saloojas detrimentally relied on the conduct of Aetna which was an implied promise

 4   to comply with the law and fully pay for the covid rendered testing services under the
 5
     CARES ACT. This obligation survives the issue of a private right of action be3cuase it is
 6
     conduct designed to reach a desired result: treatment of its insured and if done full payment
 7
     for the services will be made. This is detrimental reliance in its purest form which is
 8

 9   independent to the CARES’s Act’s right to sue. At this stage of the litigation, it is

10   premature for the Court to dismiss Saloojas' promissory estoppel claim, and Aetna's motion
11   to dismiss the promissory estoppel claim should be denied.
12
                   B. INJUNCTIVE RELIEF CLAIM IS PROPERLY PLED AND NOT
13
                                              PREEMPTED
14
            Plaintiffs' underlying causes of action are sufficiently pled to sustain a claim for
15
     declaratory relief, as described above, and such action is appropriate as actions based in equity.
16

17   Here, in addition to seeking damages to related to Aetna's denials and underpayments of

18   Covid Testing claims, Plaintiff is also seeking relief from for Aetna's failure to provide a full
19
     and fair review and for its racketeering activities. Claims seeking more than just money
20
     damages indicate that the relief sought is more likely to be equitable relief. Cent. States,
21
     Southeast & Southll'est Areas Health & Welfare Fund v. Health Special Risk, Inc., 756
22

23   F.3d 356,360 (5th Cir. 2014). Clearly these causes of action request more than just money

24   damages and as such, Plaintiffs are entitled to equitable relief.    Cent. States, Southeast &

25   Southll'est Areas Health & Welfare Fund v. Health Special Risk, Inc., supra Thus,
26
     Plaintiff's claims for equitable relief, based on the viable claims described above and
27
     throughout the entirety of the Complaint, should not be dismissed.
28
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            C. CALIFORNIA’S UNLAWFUL, UNFAIR AND FRAUDULENT BUSINESS
 1
     ACTS VIOLATIONS HAVE BEEN PLED AND ARE NOT PREEMPTED
 2
            Since when has it been right just and proper for a business to engage in practices
 3

 4   which in essence kill people while also being in violation of the law?

 5          Irrespective of whether the CARES Act can be enforced, Aetna made an intentional

 6   business decision not to follow it. It is the ramifications of that decision that has resulted in

 7   millions of Americans not receiving the medical care which was guaranteed to them under
 8   the CARES ACT.
 9          The number of death and contracted Covid cases will be ascertained by discovery but
10   who besides Aetna and it fellow insurance companies can say that :
11
            1. not obeying the CARES Act and not paying out of network providers for their covid
12
     rendered medical services to their insured with the foreseen effect of driving the out of
13
     network providers out of business is right just and proper?
14
            2. That assessing insureds for copays and deductibles for their covid medical etsting
15
     and shots with the effect of getting them not to use out of network providers when those
16
     copays and deductibles are illegal to access under the CARES Act?
17
            3. By it actions above forcing its insureds not to see medical doctors for their covid
18
     testing and while saving the insurance companies fortunes exposing their insureds to covid in
19

20   unacceptable manners?

21          Basically, and these questions will be asked before the Jury: “What benefit to

22   AETNA’s insured is derived from them not seeing a medical doctor, as President Biden did

23   for the order get their medical test when it would cost them nothing? In that case who benefits

24   besides AETNA?”
25          This is a modern version of the Ford pinto Case. This is, as it is still ongoing, an
26   intentional act , scheme and program by AETNA not to enforce the CARES ACT and to save
27
     money by doing so on the pain and in many cases deaths of its insured. The harm that is
28
      caused by AETNA is readily foreseeable. Who cannot see the benefit in seeing a doctor for
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     COVID exam when it s free? In converse, Who cannot see the harm when the insured is
 1
     prevented from seeing a doctor by illegal copays and deductibles which force the insured to
 2
     chose between providing for their families or risking COVID by not seeing a doctor. The
 3

 4   exact choice that Congress intend stop citizens having to make. It is a choice that never

 5   should have been put before AETNA’s insured because to get to that point AETNA had to

 6   institute a plan, program, scheme to violate Federal law and not enforce the CARES ACT.

 7           The unfair business act in plaintiff's complaint is is AETNA’s willingness to let people

 8   die just to make an extra buck by curtailing access to the very medical care which was
 9   guaranteed by Congress in the CARES ACT.
10           The actions by Aetna meet every definition of coercion , malice              and gross
11
     indifference to life. Just as in Grimshaw, supra, the judgment should be the same regarding
12
     Aetna’s scheme of death.
13
             Replacing Ford with Aetna in the Grimshaw finding, one has no difficulty seeing its
14
     pattern of illegal activity
15
            “There was ample evidence to support a finding of malice and Ford’s {Aetna’s]
16          responsibility for malice. *****There was evidence that Ford [Aetna}could have
            corrected the hazardous design defects {followed the CARES ACT} at minimal cost
17
            but decided to defer correction of the shortcomings ignore the CARES ACT by
18          engaging in a cost-benefit analysis balancing human lives and limbs against corporate
            profits. Ford's Aetna’s institutional mentality was shown to be one of callous
19          indifference to public safety. There was substantial evidence that Ford's {Aetna’s)
            conduct constituted "conscious disregard" of the probability of injury to members of
20          the consuming public…
21
            California’s Unfair Business Act claim is independent from the ERISA claim. The
22
     claim is not for the payment of the ERISA benefits, it is for indemnification and redress for
23
     the harm caused by the outrageous and intentional actions of AETNA. For that reason, it is
24
     not exempted by ERISA as it is a stand alone state cause of action
25

26

27

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 1

 2                                       CONCLUSION

 3       Based upon the foregoing, it should be found that an implied Congressional private right
 4
     of actions exists under the CARES Act. This private right of action gives to all out of
 5
     network providers who render Covid Testing Services, such as the Plaintiff, the ability to sue
 6
     in their own right to redress of any violation of the CARES Act.
 7

 8        In addition, the court should that find that valid causes of action have beep plead for
 9   ERISA violation, as well as the state causes of action for promissory estoppel, injunctive relief
10
     and violation of California’s Unlawful, Unfair Business Practice Act.
11

12        Finally, the court shroud find that the class action allegations are proper and the class

13   certified. If there motion is granted, then leave to amend should be granted because all of the

14   issues cited can be cured by amendement even the class aacyion by simply staign a
15   clarification that the action arises udner both ERISA and CARES ACTs.
16

17

18                                         `      Respectfully submitted

19      Dated July 29 , 2022                       Law Office of Michael Lynn Gabriel

20                                                _/s/ Michael Lynn Gabriel
                                                  Attorney For Plaintiff
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